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 1 MARK R. CONRAD (CA Bar No. 255667)
   WILLIAM J. COOPER (CA Bar No. 304254)
 2 CONRAD | METLITZKY | KANE LLP
   Four Embarcadero Center, Suite 1400
 3 San Francisco, CA 94111
   Tel: (415) 343-7100
 4 Fax: (415) 343-7101
   Email: mconrad@conmetkane.com
 5 Email: wcooper@conmetkane.com

 6 DANIEL P. WATKINS* (VA Bar No. 84592)
   CLARE LOCKE LLP
 7 10 Prince Street
   Alexandria, VA 22314
 8 Tel: (202) 628-7407
   Email: daniel@clarelocke.com
 9 *Pro Hac Vice Application Forthcoming

10 Attorneys for Applicant FREDRIC N. ESHELMAN

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12                                    UNITED STATES DISTRICT COURT
13                                   NORTHERN DISTRICT OF CALIFORNIA
14                                          SAN JOSE DIVISION
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16   In re Ex Parte Application of                    CASE NO. 5:23-MC-80015
17   FREDRIC N. ESHELMAN,
                                                      CERTIFICATION OF INTERESTED ENTITIES
18   Applicant,                                       OR PERSONS PURSUANT TO CIVIL LOCAL
                                                      RULE 3-15
19   For an Order Pursuant to 28 U.S.C. § 1782
     Granting Leave to Obtain Discovery for Use in
20   Foreign Proceedings.
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     CASE NO. 5:23-mc-80015                          CERTIFICATION OF INTERESTED ENTITIES OR PERSONS
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 1          Pursuant to Civil L.R. 3-15, the undersigned counsel of record for Applicant Fredric N. Eshelman

 2 certify that, other than the named parties, there are no known persons, associations of persons, firms,

 3 partnerships, corporations (including parent corporations) or other entities that (i) have a financial interest

 4 in the subject matter in controversy or in a party to the proceeding, or (ii) have a non-financial interest in

 5 that subject matter or in a party that could be substantially affected by the outcome of this proceeding.

 6

 7 DATED: January 13, 2023                                 Respectfully submitted,

 8                                                         CONRAD | METLITZKY | KANE LLP
 9
                                                           /s/ William J. Cooper
10                                                         Mark R. Conrad
                                                           William J. Cooper
11
                                                           CLARE LOCKE LLP
12
                                                           Daniel P. Watkins
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                                                           Attorneys for Fredric N. Eshelman
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     CASE NO. 5:23-mc-80015                             CERTIFICATION OF INTERESTED ENTITIES OR PERSONS
